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                               Internal Revenue Service, Treasury                                                              § 1.6091–2

                               filed at the place prescribed by the reg-                     (15) For the place for filing informa-
                               ulations contained in this chapter.                        tion returns on Forms 1042–S with re-
                                  (b) Place for filing certain information                spect to certain amounts paid to for-
                               returns. (1) For the place for filing re-                  eign persons, see instructions to the
                               turns of partnership income, see para-                     form.
                               graph (e)(1) of § 1.6031(a)–1.                                (16) For the place for filing informa-
                                  (2) For the place for filing informa-                   tion returns on Form 5074 with respect
                               tion returns by banks with respect to                      to the allocation of individual income
                               common trust funds, see § 1.6032–1.                        tax to Guam, see paragraph (b)(3) of
                                  (3) For the place for filing informa-                   § 1.935–1 and paragraph (d) of § 301.7654–
                               tion returns by certain organizations                      1 of this chapter (Regulations on Pro-
                               exempt from taxation under section                         cedure and Administration).
                               501(a), see paragraph (e) of § 1.6033–1.
                                                                                          [T.D. 6500, 25 FR 12108, Nov. 26, 1960, as
                                  (4) For the place for filing informa-                   amended by T.D. 6887, 31 FR 8814, June 24,
                               tion returns by trusts claiming chari-                     1966; T.D. 6922, 32 FR 8713, June 17, 1967; T.D.
                               table deductions under section 642(c),                     7284, 38 FR 20829, Aug. 3, 1973; T.D. 7385, 40 FR
                               see paragraph (c) of § 1.6034–1.                           50264, Oct. 29, 1975; T.D. 8734, 62 FR 53493, Oct.
                                  (5) For the place for filing informa-                   14, 1997; T.D. 9156, 69 FR 55744, Sept. 16, 2004]
                               tion returns by officers, directors, and
                               shareholders of foreign personal hold-                     § 1.6091–2 Place for filing income tax
                               ing companies, see § 1.6035–1.                                  returns.
                                  (6) For the place for filing informa-                      Except as provided in § 1.6091–3 (relat-
                               tion returns relating to certain stock                     ing to certain international income tax
                               option transactions, see paragraph (c)                     returns) and § 1.6091–4 (relating to ex-
                               of § 1.6039–1.                                             ceptional cases):
                                  (7) For the place for filing returns of                    (a) Individuals, estates, and trusts. (1)
                               information reporting certain pay-                         Except as provided in paragraph (c) of
                               ments, see paragraph (a)(5) of § 1.6041–2                  this section, income tax returns of in-
                               and § 1.6041–6.                                            dividuals, estates, and trusts shall be
                                  (8) For the place for filing returns of                 filed with any person assigned the re-
                               information regarding payments of                          sponsibility to receive returns at the
                               dividends, see paragraph (c) of § 1.6042–                  local Internal Revenue Service office
                               2 (relating to returns for calendar                        that serves the legal residence or prin-
                               years after 1962).                                         cipal place of business of the person re-
                                  (9) For the place for filing informa-                   quired to make the return.
                               tion returns by corporations relating                         (2) An individual employed on a sal-
                               to contemplated dissolution or liquida-                    ary or commission basis who is not
                               tion, see paragraph (a) of § 1.6043–1.                     also engaged in conducting a commer-
                                  (10) For the place for filing informa-                  cial or professional enterprise for prof-
                               tion returns by corporations relating                      it on his own account does not have a
                               to distributions in liquidation, see                       ‘‘principal place of business’’ within
                               paragraph (a) of § 1.6043–2.                               the meaning of this section.
                                  (11) For the place for filing returns of                   (b) Corporations. Except as provided
                               information regarding payments of pa-                      in paragraph (c) of this section, income
                               tronage dividends, see paragraph (d) of                    tax returns of corporations shall be
                               § 1.6044–2.                                                filed with any person assigned the re-
                                  (12) For the place for filing informa-                  sponsibility to receive returns in the
                               tion returns relating to formation or                      local Internal Revenue Service office
                               reorganization of foreign corporations,                    that serves the principal place of busi-
                               see paragraph (j)(2) of § 1.6046–1.                        ness or principal office or agency of the
                                  (13) For the place for filing informa-                  corporation.
                               tion returns regarding certain pay-                           (c) Returns filed with service centers.
                               ments of interest, see paragraph (c) of                    Notwithstanding paragraphs (a) and (b)
                               § 1.6049–1.                                                of this section, whenever instructions
                                  (14) For the place for filing informa-                  applicable to income tax returns pro-
                               tion returns with respect to payment                       vide that the returns be filed with a
                               of wages in the form of group-term life                    service center, the returns must be so
                               insurance, see paragraph (b) of § 1.6052–                  filed in accordance with the instruc-
                               1.                                                         tions.

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                               § 1.6091–3                                                              26 CFR Ch. I (4–1–05 Edition)

                                 (d) Hand-carried returns. Notwith-                       as provided in paragraph (b) of this sec-
                               standing paragraphs (1) and (2) of sec-                    tion.
                               tion 6091(b) and paragraph (c) of this                       (g) Returns of persons subject to a ter-
                               section:                                                   mination assessment. Notwithstanding
                                 (1) Persons other than corporations. Re-                 paragraph (c) of this section, income
                               turns of persons other than corpora-                       tax returns of persons with respect to
                               tions which are filed by hand carrying                     whom an income tax assessment was
                               shall be filed with any person assigned                    made under section 6852(a) with respect
                               the responsibility to receive hand-car-                    to the taxable year must be filed with
                               ried returns in the local Internal Rev-                    any person assigned the responsibility
                               enue Service office as provided in para-                   to receive returns in the local Internal
                               graph (a) of this section.                                 Revenue Service office as provided in
                                 (2) Corporations. Returns of corpora-                    paragraphs (a) and (b) of this section.
                               tions which are filed by hand carrying
                               shall be filed with any person assigned                    [T.D. 6950, 33 FR 5356, Apr. 4, 1968, as amend-
                               the responsibility to receive hand-car-                    ed by T.D. 7012, 34 FR 7690, May 15, 1969; T.D.
                                                                                          7495, 42 FR 33726, July 1, 1977; T.D. 7575, 43 FR
                               ried returns in the local Internal Rev-
                                                                                          58816, Dec. 18, 1978; T.D. 8628, 60 FR 62210,
                               enue Service office as provided in para-                   Dec. 5, 1995; T.D. 9156, 69 FR 55744, Sept. 16,
                               graph (b) of this section.                                 2004; 69 FR 60222, Oct. 7, 2004]
                               See § 301.6091–1 of this chapter (Regula-
                               tions on Procedure and Administra-                         § 1.6091–3 Filing certain international
                               tion) for provisions relating to the defi-                      income tax returns.
                               nition of hand carried.                                       The following income tax returns
                                 (e) Amended returns. In the case of                      shall be filed as directed in the applica-
                               amended returns filed after April 14,                      ble forms and instructions:
                               1968, except as provided in paragraph                         (a) Income tax returns on which all,
                               (d) of this section:                                       or a portion, of the tax is to be paid in
                                 (1) Persons other than corporations.
                                                                                          foreign currency. See §§ 301.6316–1 to
                               Amended returns of persons other than
                                                                                          301.6316–6 inclusive, and §§ 301.6316–8 and
                               corporations shall be filed with the
                                                                                          301.6316–9 of this chapter (Regulations
                               service center serving the legal resi-
                                                                                          on Procedure and Administration).
                               dence or principal place of business of
                               the person required to make the re-                           (b) Income tax returns on an indi-
                               turn.                                                      vidual citizen of the United States
                                 (2) Corporations. Amended returns of                     whose principal place of abode for the
                               corporations shall be filed with the                       period with respect to which the return
                               service center serving the principal                       is filed is outside the United States. A
                               place of business or principal office or                   taxpayer’s principal place of abode will
                               agency of the corporation.                                 be considered to be outside the United
                                 (f) Returns of persons subject to a termi-               States if his legal residence is outside
                               nation    assessment.    Notwithstanding                   the United States or if his return bears
                               paragraph (c) of this section:                             a foreign address.
                                 (1) Persons other than corporations. Re-                    (c) Income tax returns of an indi-
                               turns of persons other than corpora-                       vidual citizen of a possession of the
                               tions with respect to whom an assess-                      United States (whether or not a citizen
                               ment was made under section 6851(a)                        of the United States) who has no legal
                               with respect to the taxable year shall                     residence or principal place of business
                               be filed with any person assigned the                      in any internal revenue district in the
                               responsibility to receive returns in the                   United States.
                               local Internal Revenue Service office                         (d) Except in the case of any depart-
                               as provided in paragraph (a) of this sec-                  ing alien return under section 6851 and
                               tion.                                                      § 1.6851–2, the income tax return of any
                                 (2) Corporations. Returns of corpora-                    nonresident alien (other than one
                               tions with respect to whom an assess-                      treated as a resident under section 6013
                               ment was made under section 6851(a)                        (g) or (h)).
                               with respect to the taxable year shall                        (e) The income tax return of an es-
                               be filed with any person assigned the                      tate or trust the fiduciary of which is
                               responsibility to receive returns in the                   outside the United States and has no
                               local Internal Revenue Service office                      legal residence or principal place of

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